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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
IN RE: VALEANT PHARMACEUTICALS ORDER
INTERNATIONAL, INC., SECURITIES Civil Action No. 15-7658 (MAS) (LHG)

LITIGATION

 

IN RE: VALEANT PHARMACEUTICALS Civil Action No. 16-3087 (MAS) (LHG)
INTERNATIONAL, INC., THIRD-PARTY
PAYOR LITIGATION

 

 

This matter comes before the Court on Special Master Dennis M. Cavanaugh’s (the ‘Special
Master”) Order Granting Preliminary Approval of Settlement. (ECF No. 510.) On December 17,
2019, Lead Plaintiff TIAA moved before the Special Master for preliminary approval of the class
action settlement pursuant to Federal Rule of Civil Procedure 23(e)(1). On January 24, 2020, the
Special Master entered the Order Granting Preliminary Approval. (ECF No. 510.) Pursuant to the
Order of the Honorable Michael A. Shipp, U.S.D.J., the Special Master “shall decide all ...
non-dispositive issues and issue appropriate written orders regarding the same,” the parties may
move to adopt such an order, and this Court shall resolve any such motions. (Sept. 10, 2019 Order
{| 9, ECF No. 484.) In accordance with the Settling Parties’! agreement, and the Court’s inherent
authority to control the matters on its docket, the Court deems the Special Master’s Order a joint,

unopposed motion to adopt the Order Granting Preliminary Approval of Settlement.

 

' The Settling Parties include Lead Plaintiff TIAA and defendants Valeant Pharmaceuticals International, Inc.;
J. Michael Pearson; Howard B. Schiller; Robert L. Rosiello; Deborah Jorn; Ari S. Kellen; Tanya Carro; Jeffrey
W. Ubben,; Robert A. Ingram; Ronald H. Farmer; Collen Goggins; Anders Loénner; Theo Melas-Kyriazi; Robert
N, Power; Norma Provencio; Katharine B, Stevenson; Deutsche Bank Securities Inc.; HSBC Securities (USA) Inc.;
MUFG Securities Americas Inc, f/k/a Mitsubishi UFJ Securities (USA) Inc.; DNB Markets, Inc.; Barclays Capital
Inc.; Morgan Stanley & Co. LLC; RBC Capital Markets, LLC; Suntrust Robinson Humphrey, Inc.; ValueAct Capital
Management, L.P.; VA Partners I, LLC; ValueAct Holdings, L.P.; ValueAct CapitalMaster Fund, L.P.; ValueAct
Co-Invest Master Fund, L.P. (Special Master’s Jan. 24, 2020 Order 1 n.1, ECF No. 510.) The Settling Parties do not
include defendant PriceWaterhouseCoopers LLP. (/d. at 1.)
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Accordingly, IT IS on this 5th day of February 2020, ORDERED that the Special Master’s
Order Granting Preliminary Approval of Settlement (ECF No. 510) is hereby ADOPTED as the

Order of the Court.

   

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Lois H. 0) M
UNITED STAT AGISTRATE JUDGE
